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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                   Plaintiff,        )                 4:06CR3016
                                     )
            v.                       )
                                     )
ARMANDO GARCIA-DELACRUZ,             )          MEMORANDUM AND ORDER
                                     )
                   Defendant.        )
                                     )


      Defendant has mailed to the chambers of the undersigned a
number of documents similar to those which had previously been
filed in this case as a petition pursuant to 28 U.S.C. § 2255.
Filing 154.      I shall have the documents filed.         I leave it to the
parties and the presiding district judge whether to construe them
as an amendment to his petition, a request for appointment of
counsel, or otherwise.


      Defendant requests a “written response,” and this is such a
response.


      IT THEREFORE HEREBY IS ORDERED:

      1.   The clerk shall file the documents.

     2. The clerk shall forward copies of this memorandum and
order to the pro se law clerk and to the assigned district judge.

     2. The clerk shall send to the defendant a copy of this
memorandum and order.

      DATED this 22nd day of April, 2008.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
